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1
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
JERRY MCKINNEY, SR.,
Plaintiff
Vv. Civil Action 1:19-CV-01339

RAPIDES PARISH SHERIFF'S OFFICE
and SHERIFF WILLIAM EARL HILTON,

Defendants

DEPOSITION OF ANTOINE BATISTE, given
via videoconferencing in the above-entitled
cause, pursuant to the following stipulation,
before Raynel E. Schule, Certified Shorthand
Reporter in and for the State of Louisiana,
commencing at 9:00 o'clock a.m., on Thursday,

the 23rd day of July, 2020.

EXHIBIT

LH

 

 

 

 

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1 MS. CHERVINSKY:

2 Objection to relevance.

3 BY MR. RICHARDSON:

4 Q. You can answer.

5 A. Race.

6 Q. Okay. Did that actually -- I'm sorry. Did
7 that actually become a lawsuit or was it an
8 EEOC and stopped there?

9 A. It became a lawsuit, but it was settled out
10 of court.

11 Q. I understand. Who was your lawyer then?
12 A. Larvadain.

13 Q. All right. We talked a little bit about

14 zones in the jail where inmates are housed
15 and where individuals work. You remember
16 that testimony?

17 A. Yes, sir.

18 Q. Okay. So tell me a little bit about these

19 zones. When -—- when the corrections
20 officers, I understand they work in these
21 zones, right?

22 A. Yep.

23 QO. All right. So tell me what the corrections
24 officers do in those zones. What are their
25 daily job duties?

 

 

 

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1 A. Well, the hardest part of your job is on

2 your feet for 12 hours. They observe the

3 activities about the offenders. They --

4 basically everything that a person that's

5 locked up, they can't do for themselves,

6 the correctional officer has to do it for

7 them. It's a hard job. Then you have to

8 worry about the fights. They have homemade
9 knives. They're fighting amongst each
10 other more than they fight the officers.
11 It's a very, very dangerous job.
12 Q. Is it a physically demanding job?

13 A. Both.

14 Q. I'm sorry.

15 A. Both physical you said and demanding?

16 Q. Yes, is it physically demanding? I just
17 didn't hear you. I think you cut out on

18 me. I'm sorry.

19 A. Yes, it is.
20 Q. Does it have -- are loud noises involved?
21 In other words, if you're going to be
22 working in one of these zones, you're going
23 to be subject to loud noises?
24 A. Yes.
25 QO. And those are 12-hour shifts?

 

 

 

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1 A. Yes.
2 Q. Have you known anyone that has worked in
3 one of the zones in eight-hour shifts?
4 A. No.
5 All right. Let's talk about Mr. McKinney.
6 Actually, let me go back a second. Before
7 we do that, let me ask you this. Who is --
8 you talked about Bobby Duncan, and I also
9 heard a Michael Duncan. Is that the same
10 person or is it two different people?
11 I don't know Michael. I know Bobby.
12 I'm sorry. I cut you off. I apologize.
13 Say again.
14 A I'm not aware of the Michael. I'm aware of
15 Bobby.
16 Q Okay. So Bobby Duncan if I understood you
17 correctly, there was some type of family
18 issue that Bobby had to take care of a
19 parent. Is that correct?
20 A. Yes.
21 Q. Okay. About what year was that?
22 A. Let's see. 2012, 2013 if I'm not mistaken.
23 Q. Where was Bobby working?
24 A. She was working in the administrative area.
25 She was in charge of the cleanup crew, and

 

 

 

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1 A. But he -- he wouldn't have access. The

2 only time he would see this document is

3 when he initialled whether he worked those

4 hours or not.

5 Q. Okay. I --

6 Whether his timesheet is correct.

7 Okay, and, you know, just to kind of follow
8 up on the timeline of events because you

9 were asked some questions about the dates

10 that things happened, is it fair to say
11 that because it has been a few years, you
12 don't exactly remember the dates that
13 everything happened. Is that fair?
14 A That's fair, yes.
15 Q Okay, but just as far as generally kind of
16 the order of events, you do remember at
17 some point seeing a doctor's note from
18 Jerry, right?
19 Yes.
20 Q And you do remember that you assigned Jerry
21 to these eight-hour shifts in the kitchen
22 because of the doctor's note, right?
23 A Yes.
24 Q And you did that to accommodate his
25 disability, right?

 

 

 

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1 CERTIFICATE

2 THIS CERTIFICATION IS VALID ONLY FOR
A TRANSCRIPT ACCOMPANIED BY MY ORIGINAL

3 SIGNATURE AND ORIGINAL REQUIRED SEAL ON THIS
PAGE.

I, RAYNEL E. SCHULE, Certified Court

5 Reporter, #77005, in good standing, in and for
the State of Louisiana, as the officer before

6 whom this testimony was taken, do hereby certify
that ANTOINE BATISTE, after having been duly

7 sworn by me upon authority of R.S. 37:2554, did
testify as hereinbefore set forth in the

8 foregoing 111 pages; that this testimony was
reported by me in stenotype reporting method,

9 was prepared and transcribed by me or under my
personal direction and supervision, and is a

10 true and correct transcript to the best of my
ability and understanding; that the transcript
11 has been prepared in compliance with transcript
format guidelines required by statute or by

12 rules of the Board, that I have acted in
compliance with the prohibition on contractual
13 relationships, as defined by Louisiana Code of
Civil Procedure Article 1434 and in rules and

14 advisory opinions of the Board; that I am not of
counsel, not related to counsel or to the

15 parties herein, nor am I otherwise interested in
the outcome of this matter.

16
17
18

 

Date Raynel E. Schule, CSR

19 Certified Shorthand Reporter
State of Louisiana

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